             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:22-cv-00114-MR

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                                        )
IN RE MISSION HEALTH                    )
ANTITRUST LITIGATION                    )                   ORDER
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     THIS MATTER is before the Court on the Plaintiffs’ Motion for the

Admission of attorney Joseph E. Samuel, Jr., as counsel pro hac vice. [Doc.

147]. Upon careful review and consideration, the Court will allow the Motion.

     IT IS, THEREFORE, ORDERED that Plaintiffs’ Motion [Doc. 147] is

ALLOWED, and Joseph E. Samuel, Jr., is hereby granted pro hac vice

admission to the bar of this Court, payment of the required admission fee

having been received by the Clerk of this Court.

     IT IS SO ORDERED.          Signed: January 23, 2025




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